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                              Exhibit 1
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                        SETTLEMENT AGREEMENT AND RELEASE

         THIS SETTLEMENT AGREEMENT AND RELEASE (herein "Release") is
made and entered into by and between GREGORY MURPHY, CRYSTAL THOMAS, AND LISA
BROCKMAN (each a "Plaintiff' or "Employee" and collectively "Plaintiffs" or "Employees") and
DELI MANAGEMENT, INC. (herein "Employer") (collectively herein "Pa1ties"). Employees
were previously employed by Employer. The Parties desire to settle the claims brought by
Employee against Employer for alleged unpaid overtime wages in the United States District Court
for the Northern District of Illinois, under the caption Murphy, et al v. Deli Management, Inc, Case
No. 3:2 1-cv-50138 (herein "Litigation"). Accordingly, in consideration of the mutual promises set
forth below, Employees and Employer agree as follows:

 1.     Plaintiffs were opt-in pl aintiffs in the FLSA collective action proceeding Florence v. Deli
        Management, Inc. , d/b/a Jason 's Deli (No. 1: l 8-cv-04303-SCJ)(N .D. Ga) ("Florence").
        Plaintiff Murphy opted-into that action on March 14, 2019, Plaintiff Thomas opted-into
        that action on March 12, 2019, and Plaintiff Brockman opted-into that action on March
        12, 2019. On March 8, 202 1, the Court in Florence granted Defendant's motion to
        decertify the collective and dismissed without prejudice the claims of the opt-in plaintiffs.
        Plaintiffs refiled their claims raised in the Florence action in this Litigation. The
        Litigation involves contested issues of fact and law and Plaintiffs and Employer now
        wish to fully and finally settle Plaintiffs' claims against Employer in the Litigation.

 2.     In entering into this settlement, the Parties acknowledge that they have had the
        opportunity to conduct certain discovery or othe1wise investigate their claims and
        defenses in this matter and to assess their relative likelihood of success on the merits, and
        believe that, based on that assessment and the relevant facts and circwnstances of the
        case, the compromise reached between them is a fair resolution of the contested issues of
        fact and law in this case.

3.      The Parties further acknowledge that all payments referenced in this Release are intended
        to fully and finally resolve any and all claims released herein between Employer and
        Employees on terms that are mutually agreeable.

 4.     By entering into this Release, Employer does not admit to any underlying liability or to
        any underlying liability of its directors, officers, paitners, shareholders, supervisors,
        employees, representatives, successors, assigns, subsidiaries, affiliates, related entities,
        parents, and insmers to Employer. Employer simply wishes to fully and finally resolve
        Employees' pending claims in the Litigation to avoid the distraction and cost of litigation.

 5.     Employer promises and obligates itself to perform the following covenants in return for
        the promises and performance undertaken by the Employees as set out in this Release:

        a.)     Employer shall provide Employees with a payment in the gross amount of
                $30,000 (herein "Settlement Amount") divided as fo llows:

               i.)    a check to Gregory Murphy in the amount of $2,739.83 (less all
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                  applicable withholdings) in compromise of all of his disputed claims for
                  unpaid wages;

          ii.)    a check to Gregory Murphy in the amount of $2,739.82 in compromise
                  of his disputed claim for liquidated damages;

          iii.)   a check to Crystal Thomas in the amount of $821 .28 (less all applicable
                  withholdings) in compromise of all of her disputed claims for unpaid
                  wages;

          iv.)    a check to Crystal Thomas in the amount of $821.28 in compromise of
                  her disputed claim for liquidated damages;

          v.)     a check to Lisa Brockman in the amount of $515 .22 (less all applicable
                  withholdings) in compromise of all of her disputed claims for unpaid
                  wages;

          vi .)   a check to Lisa Brockman in the amount of $515.22 in compromise of
                  her disputed claim for liquidated damages; and

          vii.)   a check to Head Law Fim1, LLC (Tax ID # to be supplied to Employer),
                  in the amount of $21,847.35 as consideration for Employees' disputed
                  claim for attorneys' fees and costs incurred in connection with the
                  claims made in the Florence action and the Litigation.

    b.)   The sums described above shall be delivered to Head Law Firm, LLC, 4422 N
          Ravenswood Ave, Suite 3, Chicago, IL 60640, within ten business days after the
          later of the following two events:

          i.)     Employer receives this Release executed by the Employees along with a
                  copy of a completed (current) W-9 for Head Law Firm, LLC and for
                  Employees; or

          ii.)    The U.S. District CoU1i for the Northern District of Illinois issues an order
                  that specifically approves this Release or enters the parties' stipulated
                  judgment in the Litigation.

    c.)   Employer will issue each respective Employee an IRS Form W-2 for the wage
          payments described in paragraphs 5(a)(i), (iii), and (v) above. Employer shall
          issue an IRS Form 1099, reported on Box #3, to each respective Employee for the
          payments described in paragraph 5(a)(ii), (iv), and (vi) above. Employer shall
          issue an IRS Form 1099, reported on Box #14, to Employees' counsel for the
          payment described in paragraph 5(a)(vii) above. No payments under paragraph 5
          shall be made until the tax documents required by paragraph 5(b)(i) are received
          by the Employer. Employer shall be solely responsible for determining,
          processing, and reporting the amount of tax withholding, if any, required from the


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            W-2 payments made under this Release.

     d.)    Employer, its directors, officers, administrators, agents, subsidiaries, affiliates,
            and attorneys, hereby release, remise, and forever discharge Employees from any
            and all claims, demands, rights, charges, actions, interests, debts, liabilities,
            damages, costs, attorneys' fees and expenses, or causes of action of whatever type
            or nature, whether legal or equitable, whether known or unknown to them which
            they may now have against him, either individually, jointly, or severally, based
            upon acts or facts which have occurred from the beginning of time to the date of
            this Release, arising out of or related to the facts alleged in the Complaint or the
            bringing of the Complaint itself.

     e.)    Employer shall comply with all other te1ms of this Release as provided for herein.

6.    Employees promise and obligate themselves to perfo1m the fo llowing covenants under
      this Release:

     a.)    Acting for themselves, their heirs, personal representatives, administrators and
            anyone asserting Employee's claim for Employee by or through them, Employees
            unconditionally and irrevocably release, acquit, and discharge Employer and its
            Releasees from any and all claims, whether known or unknown, that Employees
            have or may have against Employer or its Releasees, expressly limited to:

            i.)      Employees' individual claims for fa ilure to pay all required amounts due
                     for overtime hours worked;

            ii .)    Any other of Employees ' individual claims that Employees could have
                     brought under the Fair Labor Standards Act or any state or local law
                     regarding the payment of miniI11w11 wages or overtime, provided that such
                     claims arise out of the facts pleaded in their Complaint in the Litigation
                     and had accrued as of the date of this Release; and

            iii .)   Any rights that Employees may have to claim reimbursement from
                     Employer and its Releasees for attorneys' fees, litigation costs, or
                     expenses that Employees may have incurred in the course of obtaining
                     legal advice on their respective claims described in subparagraphs 6(a)(i)
                     or 6(a)(ii) above, except as specifically provided for in this Release
                     including but not limited to Section (b)(i)-(ii) below.

     b.)    For purposes of paragraph 6(a) above and its subparts, it is expressly agreed that:

            i.)      The amounts attributed to Employees' attorneys' fees, costs and expenses
                     from Paragraph 5(a)(vii) shall be the only amounts paid to Employees for
                     such fees, costs, and expenses. Employees waive any claim they may
                     have to fees, costs, and expenses for work performed by their attorneys in
                     the Litigation. Employees also waive any claim they may to fees, costs,


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                    and expenses for work performed by their attorneys in the Florence action
                    only as to their pro rata share of any fees, costs, and expenses incurred for
                    work performed by their attorneys (i) involved in moving for conditional
                    certification, and (ii) during the period between the order granting
                    conditional certification and entry of the decertification order in the
                    Florence action (exclusive of any other opt-in plai.ntiff s individual
                    discovery responses or depositions in the Florence action, for which each
                    Employee has no pro rata claim and therefore gives no waiver). Other
                    than seeking Court approval of the settlement amount and their proposed
                    allocation for fees, costs, and expenses pursuant to Section 6(a) below,
                    Employees will not file any further petition for fees, costs or expenses
                    with the Court. Employees are not authorized to release, and nothing in
                    this Release releases, claims of any kind belonging to any other opt-in
                    plaintiff that was dismissed by decertification of the Florence action.

            ii.)    Employees are not releasing any other claims in this Release, and this
                    release shall not have res judicata, collateral estoppel, or other claim
                    preclusion effect on any claims not expressly released in this Release.

            iii.)   The phrase "Employer" shall mean Deli Management, Inc. The
                    "Releasees" of Employer shall mean the persons or entities who have any
                    of the following past or present relationships to Employer or any of its
                    related entities: directors, officers, operations directors, joint venture
                    partners, managing partners, shareholders, supervisors, employees,
                    representatives, successors, assigns, subsidiaries, affiliates, parents, and
                    insurers.

     c.)   Employees represent that, other than the Litigation, they have not filed with any
           court, government agency or other tribunal any pending action, charge, complaint,
           grievance or arbitration against Employer.

     d.)   Employees shall comply with all other te1ms of this Release as provided for
           herein.

7.    Employees and Employer promise and obligate themselves to jointly perform the
      following covenants under this Release:

     a.)   The Parties agree to cooperate in the fi ling of a joint motion seeking entry of
           stipulated judgment approving this Release and dismissing this Litigation with
           prejudice (without prejudice to preserve Pa1ties' rights to reopen if needed to
           enforce this Release) consistent with Lynn's Food Stores, Inc. v. United States, 679
           F.2d 1350 (11th Cir. 1982) and Nall v. Mal-Motels, Inc., 723 F.3d 1304 (1 lth Cir.
           2013). The Parties agree to cooperate with each other in filing any materials that
           the Court may deem necessary to review or approve the Parties' settlement and this
           Release.



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       b.)    The Parties expressly agree that the terms of this Release are fair and equitable,
              and to the extent that Employees' counsel is required to petition the Court for
              approval of the reasonableness and amount of their attorney's fees and costs to be
              paid under this Release, Employer does not oppose and agrees not to oppose the
              amount (or the reasonableness of the amount) of Employees' attorney's fees and
              costs to be paid to Employees' counsel out of the total Settlement Amount.

8.     Employees agree that each of the following statements is trnthful and accurate:

       a.)    Employees are of sound mind and body.

       b.)    Employees have sufficient education and experience to make choices for themselves
              that may affect their legal rights.

       c.)    Employees have full legal capacity to make decisions for themselves.

       d.)    Employees are aware that this Release has significant legal consequences.

       e.)    Employees have consulted with an attorney of their choice prior to signing this
              Release and have determined that this settlement is a fair resolution of their claims in
              this Litigation.

       f.)    Employees have decided to sign this Release of their own free will, and their
              decision to sign this Release has not been unduly influenced or controlled by any
              mental or emotional impairment or condition.

       g.)    Employees are not executing this Release because of any duress or coercion
              imposed on them by anyone.

 9.     Emp loyer is aware of the anti-retaliation provisions of Section 2 15 of the Fair Labor
        Standards Act. Employer agrees to respond to any inquiries from prospective
        employers regarding any of the Employees by providing only a neutral reference
        stating their dates of employment, job title, and last rate of pay, and Employer agrees
        not to disclose the fact of the Florence action or the Litigation or settlement of any
        Employee's claims in response to any employment reference inquiries about any
        Employee and will not make any reference to eligibility or ineligibility for rehire.

 10.    Employees represent that they have not sold, transferred, or assigned to a third party
        any claims that they may have. Employees represent that any claims that they may have
        are unencumbered and otherwise within their power to dispose of.

 J1.    Employees agree that any and all prior understandings or agreements between Employees
        and Employer with respect to the subject matter of this Release are superseded by this
        Release, which fully and completely expresses the entire agreement and understanding of
        the Parties with respect to the subject matter hereof. The subject matter of this Release is
        Employees' settlement of Employees' claims in the Litigation; any agreements reached


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      between counsel for the Parties related to discove1y or other litigation matters regarding
      any opt-in plaintiff that was dismissed by decertification of the Litigation are unaffected
      by this Release.

12.   This Release shall not be orally amended, modified, or changed. No change, amendment,
      or modification to the terms of this Release shall be valid unless such change,
      amendment, or modification is memorialized in a written agreement between the Parties
      that has been signed by the respective Employee and by duly authorized officers or
      representatives of Employer and that specifically references both this Release and the
      provisions herein that are to be amended, modified, or changed; provided, however, that
      any such written modification of a material term of this Release shall have no effect unless
      approved by the Court.

13.   The language of all pa1ts of this Release shall in all cases be construed as a whole,
      according to its fair meaning, and not strictly for or against any of the parties. As used in
      this Release, the singular or plural shall be deemed to include the other whenever the
      context so indicates or requires.

14.   Should any provision of this Release be declared or be determined by any court to be
      illegal or invalid, the remaining parts, terms or provisions shall remain valid unless
      declared otherwise by the court. Any part, term or provision which is determined to be
      illegal or invalid shall be deemed not to be a part of this Release.

15.   The Parties agree that a true copy of this Release may be used in any legal proceeding in
      place of the original and that any such true copy shall have the same effect as the original.

16.   The Pa1ties may execute this Release in counterparts, and execution in counterparts shall
      have the same force and effect as if the Parties bas signed the same instrument.

17.   Delive1y of an executed copy of this Release by facsimile or signed .pdf delivered by
      email shall be deemed effective as if delivery of an original.

18.   The Parties intend for the Court to retain continuing and exclusive jurisdiction over the
      Parties to this Release, for the purpose of the administration and enforcement of this
      Release.




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Gregory Murphy
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      PLEASE READ CAREFULLY BEFORE SIGNING. THIS RELEASE INCLUDES A
                     MUTUAL LIMITED RELEASE OF CLAIMS.

                                      DELI MANAGEMENT, INC.


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Crystal Thomas
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Lisa Brockman
Date: _ _ _ _ _ _ _ _ _ __




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      PLEASE READ CAREFULLY BEFORE SIGNING. THIS RELEASE INCLUDES A
                     MUTUAL LIMITED RELEASE OF CLAIMS.

                                     DELI MANAGEMENT, INC.

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                                     _________________________________
Gregory Murphy                       By:
Date: ____________________________   Title: _________________________________
                                     Date: ________________________________
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            ________ ___




Crystal Thomas
      10/21/2021
Date: ____________________________
            ________ ___




_________________________________
Lisa Brockman
Date: ____________________________




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        PLEASE READ CAREFULLY BEFORE SIGNING. THIS RELEASE INCLUDES A
                         MUTUAL LTh1ITED RELEASE OF CLAIMS.

                                      DELI MANAGEMENT, INC.


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Date: _ _ _ _ _ _ _ _ _ __            Title: _ _ _ _ _ _ _ _ _ _ _ __
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Crystal Thomas
Date: _ _ _ _ _ _ _ _ _ __

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Lisa Brockman
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